       Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 1 of 27




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                       )
DONALD J. TRUMP FOR PRESIDENT,         )
INC., et al.,                          )
                                       )
                    Plaintiffs,        )
                                       )
      v.                               ) Civil Action No. 2:20-cv-00966-NR
                                       )
KATHY BOOCKVAR, in her capacity as     ) Judge J. Nicholas Ranjan
Secretary of the Commonwealth of       )
Pennsylvania, et al.,                  )
                                       )
                    Defendants.        )
                                       )

      SECRETARY OF THE COMMONWEALTH KATHY BOOCKVAR’S
  OPPOSITION TO PLAINTIFFS’ MOTION TO MODIFY STAY ORDER AND FOR
              LIMITED PRELIMINARY INJUNCTIVE RELIEF


                                       PENNSYLVANIA OFFICE OF
KIRKLAND & ELLIS LLP                   ATTORNEY GENERAL
Daniel T. Donovan                      Karen M. Romano
Michael A. Glick                       Keli M. Neary
Susan M. Davies                        Howard G. Hopkirk
Kristen L. Bokhan                      Nicole Boland
1301 Pennsylvania Avenue, N.W.         Stephen Moniak
Washington, DC 20004                   15th Floor, Strawberry Square
(202) 389-5000 (telephone)             Harrisburg, PA 17120
(202) 389-5200 (facsimile)             (717) 787-2717 (telephone)
                                       (717) 772-4526 (facsimile)
Madelyn A. Morris
Sara S. Tatum (pro hac vice pending)   MYERS BRIER & KELLY LLP
601 Lexington Avenue                   Daniel T. Brier
New York, NY 10022                     Donna A. Walsh
(212) 446-4800 (telephone)             425 Spruce Street, Suite 200
(212) 446-4900 (facsimile)             Scranton, PA 18503
                                       (570) 342-6100 (telephone)
                                       (570) 342-6147 (facsimile)
             Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 2 of 27




                                                   TABLE OF CONTENTS

                                                                                                                                       Page

INTRODUCTION .......................................................................................................................... 1

PROCEDURAL BACKGROUND................................................................................................. 2

ARGUMENT .................................................................................................................................. 4

I.        THE PENNSYLVANIA SUPREME COURT’S ORDER MOOTS PLAINTIFFS’
          MOTION............................................................................................................................. 4

II.       PLAINTIFFS’ MOTION IS PROCEDURALLY IMPROPER. ........................................ 5

III.      PLAINTIFFS’ CLAIMS REMAIN NON-JUSTICIABLE BY THIS COURT. ................ 8

IV.       PLAINTIFFS ARE NOT ENTITLED TO A PRELIMINARY INJUNCTION. ............. 12

          A.         Plaintiffs Are Not likely To Be Successful on the Merits. ................................... 12

                                Plaintiffs Do Not Have a Reasonable Probability of Demonstrating
                                There Will Be Federal Constitutional Violations. .................................... 13

                                The Secretary’s Guidance is Consistent with the Election Code and
                                Does Not Violate Commonwealth Law. ................................................... 16

          B.         Plaintiffs Will Not Suffer Irreparable Harm Absent the Requested Relief. ......... 19

          C.         It Is Not Inequitable to Deny Plaintiffs’ Requested Relief. .................................. 20

CONCLUSION ............................................................................................................................. 20




                                                                      i
            Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 3 of 27




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Am. Express Travel Related Servs., Inc. v. Sidamon-Eristoff,
   669 F.3d 359 (3d Cir. 2012).....................................................................................................12

Bennett v. Yoshina,
   140 F.3d 1218 (9th Cir. 1998) .................................................................................................14

Bush v. Gore,
   531 U.S. 98 (2000) ...................................................................................................................15

Citizen’s Bank, N.A. v. Baker,
    2020 WL 1248657 (W.D. Pa. Mar. 16, 2020) ...........................................................................6

Clapper v. Amnesty Int’l USA,
   568 U.S. 398 (2013) ...................................................................................................................9

DaimlerChrysler Corp. v. Cuno,
   547 U.S. 332 (2006) ...................................................................................................................9

Fuente v. Cortes,
   207 F. Supp. 3d 441 (M.D. Pa. 2016) ........................................................................................6

Hennings v. Grafton,
   523 F.2d 861 (7th Cir. 1975) .............................................................................................13, 14

Holland v. Rosen,
   895 F.3d 272 (3d Cir. 2018)...............................................................................................12, 20

Lexmark Int’l, Inc. v. Static Control Components, Inc.,
   572 U.S. 118 (2014) ...................................................................................................................9

Lujan v. Defs. of Wildlife,
   504 U.S. 555 (1992) ...................................................................................................................9

PennEnvironment v. PPG Indus., Inc.,
   2019 WL 4860940 (W.D. Pa. Oct. 2, 2019) ..........................................................................6, 7

Pennhurst State Sch. & Hosp. v. Halderman,
   465 U.S. 89 (1984) .............................................................................................................10, 11

PG Publ’g Co. v. Aichele,
   705 F.3d 91 (3d Cir. 2013).......................................................................................................16



                                                                    ii
             Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 4 of 27




Pierce v. Allegheny Cty. Bd. of Elections,
   324 F. Supp. 2d 684 (W.D. Pa. 2003) ..................................................................................6, 15

Samuel v. V.I. Joint Bd. of Elections,
   2013 WL 842946 (D.V.I. Mar. 7, 2013) ..................................................................................14

Shambach v. Bickhart,
   845 A.2d 793 (Pa. 2004) ..........................................................................................................18

Snowden v. Hughes,
   321 U.S. 1 (1944) ...............................................................................................................13, 15

Summers v. Earth Island Inst.,
   555 U.S. 488 (2009) .................................................................................................................10

Statutes

25 Pa. Cons. Stat. § 2602 ...................................................................................................12, 18, 19

25 Pa. Cons. Stat. § 2641 ...............................................................................................................18

25 Pa. Cons. Stat. § 2645 ...............................................................................................................18

25 Pa. Cons. Stat. § 2726 ...............................................................................................................16

25 Pa. Cons. Stat. § 3055 ...............................................................................................................17

25 Pa. Cons. Stat. § 3062 ...............................................................................................................17

25 Pa. Cons. Stat. § 3063 ...............................................................................................................17

25 Pa. Cons. Stat. § 3146.2a ............................................................................................................7

25 Pa. Cons. Stat. § 3146.6 ......................................................................................................17, 18

25 Pa. Cons. Stat. § 3146.8 ......................................................................................................12, 19

25 Pa. Cons. Stat. § 3150.12a ..........................................................................................................7

25 Pa. Cons. Stat. § 3150.16 ....................................................................................................17, 18

25 Pa. Cons. Stat. § 3511 ...............................................................................................................18

42 Pa. Cons. Stat. § 726 ...................................................................................................................3

Other Authorities

Richard H. Fallon, Jr. et al., Hart and Wechsler’s the Federal Courts and the
   Federal System (6th ed. 2015) .................................................................................................10


                                                                    iii
            Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 5 of 27




U.S. Const. amend. XI .....................................................................................................2, 8, 10, 11




                                                                  iv
         Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 6 of 27




                                         INTRODUCTION

       Plaintiffs’ motion to modify the existing stay order and for broad preliminary injunctive

relief is a thinly-veiled—and meritless—request for reconsideration of this Court’s well-reasoned

opinion abstaining from this dispute. Just 10 days ago, this Court issued a detailed order explaining

why the critical interests of comity and federalism demanded that this federal Court allow the

Commonwealth’s own courts to first resolve important state-law issues of first impression. Since

that time, Plaintiffs failed to exhaust (or even explore) the avenues recommended by the Court to

pursue their relief in state court. Instead, through the present motion, Plaintiffs return to this Court

seeking relief that would require the Court to do precisely what it has already declined to do: issue

an advisory opinion regarding unsettled aspects of state law that are best resolved by Pennsylvania

state courts in the first instance. The Court should again decline Plaintiffs’ invitation.

       Crucially for purposes of this motion, just yesterday, the Supreme Court of Pennsylvania

granted Secretary of the Commonwealth Kathy Boockvar’s application and exercised its

extraordinary jurisdiction over the parallel Commonwealth Court case raising substantially

identical election law issues as this case. The court further set an expedited briefing schedule with

supplemental briefs due early next week. Thus, even if Plaintiffs’ present motion were appropriate

when it was filed—and it was not—intervening events have made clear that this Court should defer

to the Supreme Court’s forthcoming interpretation of state Election Code issues. Put simply, the

Pennsylvania Supreme Court’s exercise of its extraordinary jurisdiction along with its invitation

for expedited supplemental briefing confirms the correctness of the Court’s abstention order,

provides comfort that the Pennsylvania Supreme Court will resolve the disputed issues of state

law, and defeats Plaintiffs’ renewed request for intrusive federal injunctive relief.

       But Plaintiffs’ motion suffers from yet additional flaws. First, the same justiciability and

constitutional limits on this Court’s jurisdiction and power set forth by the Secretary and several


                                                   1
         Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 7 of 27




other Defendants and Intervenors as part of the original motion to dismiss briefing—including lack

of standing, lack of ripeness, and Eleventh Amendment issues—prevent this Court from granting

Plaintiffs’ requested relief. Although the Court expressly declined to resolve those issues in its

abstention order, it would have to do so in order to grant Plaintiffs’ newly requested relief.

       Moreover, although the Court need not—and should not—reach the merits of Plaintiffs’

motion, Plaintiffs are simply not entitled to the injunctive relief they seek: their barebones

allegations do not demonstrate a reasonable probability that they will prevail on the merits of their

claims; they fail to establish that they will be irreparably harmed at this stage by election-related

activities that remain several weeks, if not months, away; and the balance of harms and public

interest favor the Secretary and other Defendants, not Plaintiffs.

       The Court should deny Plaintiffs’ requested relief and leave undisturbed its prior order

abstaining from this dispute.

                                PROCEDURAL BACKGROUND

       Plaintiffs filed their original complaint on June 29. See ECF No. 4. Plaintiffs did not seek

preliminary injunctive relief at that time, but later moved for expedited discovery and a declaratory

judgment hearing, which this Court partially granted, scheduling a speedy hearing and allowing

for certain limited discovery. ECF No. 123.

       The Secretary and other Defendants and Intervenors promptly moved to dismiss the

original complaint. See, e.g., ECF Nos. 184-85. Rather than oppose, Plaintiffs filed an amended

complaint (“Am. Compl.,” ECF No. 234), but again did not seek preliminary injunctive relief. The

Secretary and others again promptly moved to dismiss, raising a host of jurisdictional issues,

highlighting substantial Eleventh Amendment problems with Plaintiffs’ claims, and requesting

abstention in favor of ongoing Commonwealth Court proceedings addressing similar issues,

among other arguments. See, e.g., ECF Nos. 263-64.


                                                  2
         Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 8 of 27




       While the motions to dismiss were pending, the Secretary took two critical actions:

       First, in recognition of the unsettled nature of certain state-law questions at issue in this

dispute and a parallel proceeding in Commonwealth Court—Pennsylvania Democratic Party v.

Boockvar, No. 407 MD 2020—on August 16, the Secretary asked the Supreme Court of

Pennsylvania to invoke its “[e]xtraordinary [j]urisdiction” pursuant to 42 Pa. Cons. Stat. § 726 and

resolve this “issue[] . . . of immediate public importance.” ECF No. 388-1 at 3-4. The Secretary

notified this Court of her application the next day. ECF No. 388.

       Second, in accordance with her statutory and fiduciary responsibilities to plan for the

upcoming General Election (and as previously disclosed was her intent in motion-to-dismiss

briefing and discovery), on August 19, the Secretary issued two sets of guidance—one outlining

procedures for county boards of elections to collect absentee and mail-in ballots (including at

secure ballot return receptacles, commonly referred to as “drop-boxes”) and one regarding the

treatment of ballots lacking inner secrecy envelopes (i.e., “naked” ballots). See Exs. 1-2. The

Secretary disseminated both sets of guidance to all county boards of elections and on its website,

see Ex. 3, and, although Plaintiffs already had access to it, formally produced the guidance to

Plaintiffs with Bates numbers on the morning of August 21.

       On August 23, the Court issued its 37-page opinion abstaining from this case pending

state-court adjudication of the state Election Code issues at the heart of this dispute. ECF No. 409

(“Op.”). Among other things, the Court observed that “[h]ow the state courts interpret the unsettled

state-law questions will dramatically alter the nature and scope of the federal-constitutional

claims” asserted in this case and found that charging forward “would risk issuing a decision that

is at odds with the state court’s interpretation of the [E]lection [C]ode or is an advisory opinion.”

Id. at 14. In doing so, the Court identified three alternate routes for Plaintiffs to pursue speedier




                                                 3
         Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 9 of 27




relief or contest the Court’s abstention ruling, including, (1) seeking to expedite the pending

state-court litigation involving many of the same parties and issues, (2) filing a new case in state

court asserting the same state-law claims, or (3) appealing the abstention order to the Third Circuit.

See id. at 31-33. After failing to pursue any of these avenues in the week following the Court’s

decision, Plaintiffs filed the present motion on August 28 (“Mot.,” ECF No. 414).

       Yesterday, September 1, the Supreme Court of Pennsylvania issued an Order exercising

jurisdiction over the pending state-court proceeding and inviting additional briefing to be filed

early next week. See ECF No. 418 (notifying this Court of Order and providing copy of same).

                                           ARGUMENT

I.     THE PENNSYLVANIA SUPREME COURT’S ORDER MOOTS PLAINTIFFS’
       MOTION.

       The Supreme Court of Pennsylvania’s Order exercising its extraordinary jurisdiction over

the parallel Commonwealth Court case moots Plaintiffs’ motion and should be the beginning and

end of the matter. As presented in their motion, Plaintiffs’ theory of constitutional harm is that

certain Pennsylvania counties will count “illegally cast” ballots, thereby diluting “lawfully cast”

votes, and that counties will resolve ambiguities in the Election Code differently, thereby treating

ballots unequally. Mot. at 2-3. And although the Secretary recently issued guidance precisely to

cure any confusion and ensure uniformity across the Commonwealth, see Exs. 1-2, Plaintiffs

contend (without support) that certain counties will ignore that clear guidance, causing confusion

and inconsistency in the upcoming General Election. Mot. at 2-3.

       The Pennsylvania Supreme Court’s exercise of its extraordinary jurisdiction moots any

such concern (however unfounded). That court—the highest court in Pennsylvania—exercised

jurisdiction to authoritatively construe the Election Code as it relates to Plaintiffs’ concerns,

resolving whether certain ballots will be “illegally cast” and providing binding and uniform



                                                  4
        Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 10 of 27




interpretations. Plaintiffs offer no suggestion (nor could they) that counties will ignore the

Supreme Court’s forthcoming decision, therefore creating the sort of inconsistencies that underlie

the concerns set forth in their motion.

       Moreover, the Supreme Court has committed to acting quickly: its order accepting the case

requested that any supplemental briefs or affidavits be filed by 5:00 p.m. next Tuesday. ECF No.

418-3 at 3. Accordingly, there is simply no need for this federal Court’s involvement at this time

and the Court should deny the motion as moot.

II.    PLAINTIFFS’ MOTION IS PROCEDURALLY IMPROPER.

       Plaintiffs’ motion also fails because it is nothing more than an improper motion for

reconsideration of the Court’s abstention order, which is particularly unwarranted now. In a

thoughtful opinion spanning 37 pages, the Court determined to abstain and await state-court

guidance on the disputed Election Code issues. E.g., Op. at 2-4. In doing so, the Court provided

clear guidance to Plaintiffs for how to proceed if they disagreed with this Court, id. at 32 & n.8, or

if they wanted a more expedient answer from Commonwealth courts, id. at 31-32. Plaintiffs,

however, charted a premature course back to this Court, and the Court should reject their latest

procedural maneuver.

       While claiming to “understand the Court’s decision to abstain,” and insisting they “do not

seek to challenge that decision in this Motion,” Mot. at 19, Plaintiffs’ motion necessarily

“challenge[s]” the Court’s abstention holding and is another attempt to make this Court, and not

the state courts, the first to lend its interpretation of Pennsylvania law. Indeed, to issue a

preliminary injunction, the Court would have to decide whether Plaintiffs are likely to succeed on

the merits of their claims. While Plaintiffs have not stated viable constitutional claims under any

interpretation of the Election Code, see infra Part IV.A, this would nonetheless require this Court




                                                  5
        Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 11 of 27




to issue an advisory interpretation of the very same Election Code provisions now under review

by the Pennsylvania Supreme Court.

       That Plaintiffs are now seeking preliminary injunctive relief does not change things. As

this Court recognized, “Plaintiffs intentionally opted to forgo seeking any preliminary provisional

relief” originally, Op. at 33, and that “deliberate choice on how to proceed obviate[d] the Court’s

need to take any immediate action,” id. at 33-34. Plaintiffs cannot change course now that the

Court has abstained. While some courts have granted injunctive relief contemporaneously with a

decision to abstain on Pullman grounds, see Pierce v. Allegheny Cty. Board of Elections, 324 F.

Supp. 2d 684, 704 (W.D. Pa. 2003); Fuente v. Cortes, 207 F. Supp. 3d 441, 453 (M.D. Pa. 2016),

Plaintiffs cite no precedent that allows them to seek a preliminary injunction after the Court has

abstained and stayed a case, as here. See Op. at 33 (“True, if Plaintiffs had filed a motion for a

preliminary injunction, the Court would have likely been required to rule on it before abstaining.”).

       Plaintiffs’ motion is therefore better viewed as an artfully pleaded motion for

reconsideration of the Court’s abstention decision. As an initial matter, while clear doctrines exist

allowing parties to move to modify preliminary injunctions, no such doctrine exists for requests to

modify abstention orders. See Citizen’s Bank, N.A. v. Baker, 2020 WL 1248657, at *2 (W.D. Pa.

Mar. 16, 2020). In any event, Plaintiffs have not identified any basis for reconsideration, and such

motions should be sparingly granted anyway. See PennEnvironment v. PPG Indus., Inc., 2019

WL 4860940, at *1 (W.D. Pa. Oct. 2, 2019) (“[W]hile ‘[a] court has the power to revisit prior

decisions of its own or of a coordinate court in any circumstance, . . . as a rule courts should be

loath[] to do so in the absence of extraordinary circumstances such as where the initial decision

was clearly erroneous and would make a manifest injustice.’” (second & third set of brackets and

ellipsis in original) (citations omitted)). To justify reconsideration, Plaintiffs must demonstrate




                                                 6
        Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 12 of 27




either: “(1) an intervening change in the controlling law; (2) the availability of new evidence . . . ;

or (3) the need to correct a clear error of law or fact or to prevent manifest injustice.” Id. at *2.

Plaintiffs do not allege any change in controlling law or need to correct a clear legal or factual

error, instead relying on supposed “new evidence” to explain the need to modify the Court’s order.

See Mot. at 2 n.1, 5. Plaintiffs cite, for instance, the fact that “ballot designs may be certified and

available as early as September 14, 2020 and ballots may start being delivered at any point

thereafter.” Id. at 15. Plaintiffs claim to have chosen September 14 because that is when counties

must begin processing absentee and mail-in applications, id. at 12; see also 25 Pa. Cons. Stat.

§§ 3146.2a, 3150.12a, but notably, that provision of the Election Code has not changed since

Plaintiffs initiated this case, and it has no relevance for when ballots will be collected. Nor did the

Secretary’s issuance of certain guidance on August 19 (four days before the Court’s abstention

order) change anything. In fact, as explained below, the guidance serves to ensure uniformity and

conformance with the Election Code statewide; it is by no means grounds for reconsideration. Put

simply, Plaintiffs have not demonstrated a change of circumstances that would justify modifying

the Court’s order. And, if anything, the Pennsylvania Supreme Court’s decision to exercise

jurisdiction confirms that this Court correctly abstained.1


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  The Court should also reject Plaintiffs’ gambit in light of their failure to exhaust—or even
seriously engage in—any of the alternate avenues suggested by the Court for obtaining clarity
regarding the disputed issues of state statutory construction. To be sure, the Pennsylvania Supreme
Court has now exercised its jurisdiction over the state-court proceedings over Plaintiffs’ objection.
But prior to that Order, Plaintiffs made no effort to (a) appeal this Court’s abstention order to the
Third Circuit, which would have had the power to certify Plaintiffs’ questions of state law to the
Pennsylvania Supreme Court, see Op. at 32, (ii) initiate a state court proceeding seeking a
definitive interpretation of the relevant state Election Code provisions, see Op. at 32, (iii) attempt
to expedite any of the existing state court proceedings, see Op. at 31, or (iv) even notify any of the
relevant Commonwealth courts of the abstention order. To the contrary, prior to this Court’s
abstention order, Plaintiffs opposed the Secretary’s application for the Supreme Court to exercise
its extraordinary jurisdiction (ECF No. 418-1), and they took no action following the abstention
order to withdraw that opposition before the application was granted over their opposition.



                                                  7
         Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 13 of 27




III.    PLAINTIFFS’ CLAIMS REMAIN NON-JUSTICIABLE BY THIS COURT.

        The Court should also deny the motion because Plaintiffs’ underlying claims remain

non-justiciable and the Court lacks authority to grant Plaintiffs relief premised on alleged

violations of state law. The Secretary and other Defendants/Intervenors previously explained why

Plaintiffs’ claims are not justiciable, including because Plaintiffs have not alleged a legally

cognizable injury; certain of their claims are unripe; and the Eleventh Amendment bars state-law

claims against unconsenting states in federal court. See generally, e.g., ECF Nos. 263-64, 336. In

its abstention order, the Court expressly declined to address those critical limitations. Op. at 12

n.3 (“Because the Court is abstaining based on Pullman, it need not address these other issues.”);

see also Order (ECF No. 410) at 1-2 (“Because the Court is abstaining under Pullman, it has not

reached a determination on any other arguments raised in Defendants’ and Intervenors’ motions,

and therefore holds the remaining aspects of those motions in abeyance.”). Plaintiffs’ latest

motion, however, runs headlong into those very limits on federal judicial power, including whether

the Court has the authority to fashion the requested preliminary injunctive relief. For the same

reasons set forth in the prior briefing, the Court does not.

        Plaintiffs fail to assert cognizable injury and therefore lack standing. Although

Plaintiffs’ theory of injury has evolved through this litigation, Plaintiffs have failed at any stage to

articulate a viable theory of Article III injury. At this point in the litigation, it is clear that Plaintiffs

are simply unhappy with the Secretary’s interpretation of the Election Code and seek to transform

that disagreement into a federal constitutional violation and compel compliance with their own

interpretation of the Code. Plaintiffs claim, among other things, that: (1) the implementation of

mail-in voting (including through formal guidance issued by the Secretary) “will . . . lead[] to vote

dilution”; and (2) “inconsistent implementation of the Election Code and Secretary Boockvar’s




                                                      8
        Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 14 of 27




guidance . . . [will] violate Plaintiffs’ federal and state equal protection and other constitutional

rights.” Mot. at 3. None of these theories articulates cognizable, non-speculative harm.

       Plaintiffs’ vote-dilution theory (i.e., that “illegally cast” votes will dilute legally cast votes)

is the very definition of a generalized grievance. Individual litigants simply do not have a legally

cognizable interest in the proper enforcement of the laws. See, e.g., Lexmark Int’l, Inc. v. Static

Control Components, Inc., 572 U.S. 118, 127 n.3 (2014) (explaining the Court’s “reluctance” to

entertain suits “claiming only harm to [the plaintiff’s] and every citizen’s interest in proper

application of the Constitution and laws, and seeking relief that no more directly and tangibly

benefits him than it does the public at large.” (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555,

573-74 (1992))); DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 344 (2006) (holding that litigants

lack standing when allegations mean only that they “suffer[] in some indefinite way in common

with people generally” (citation omitted)). Plaintiffs’ failure to articulate a particularized injury

deprives them of standing and this Court of jurisdiction.

       Even if the Court thought Plaintiffs had alleged something more than a generalized

grievance, Plaintiffs’ claimed injuries continue to be speculative at best, and do not satisfy the

requirements of Article III that the claimed injury be “certainly impending.” Clapper v. Amnesty

Int’l USA, 568 U.S. 398, 409-10 (2013). Indeed, Plaintiffs’ vote-dilution theory depends on

election officials violating state law and counting illegally cast ballots, even after the Pennsylvania

Supreme Court interprets the Election Code. And Plaintiffs’ equal-treatment claim is even worse

off today than it was when Plaintiffs opposed the Secretary’s motion to dismiss the amended

complaint: the Secretary has since issued statewide guidance clarifying and unifying procedures

for absentee and mail-in ballot drop-boxes and treatment of “naked” ballots, see Exs. 1-2, and the

Pennsylvania Supreme Court has effectively agreed to determine whether that guidance is




                                                   9
          Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 15 of 27




consistent with the Election Code (see ECF No. 418-3). There is therefore no legitimate,

non-speculative risk of unequal treatment across counties.

          Certain of Plaintiffs’ claims remain unripe. Although seemingly not at the core of their

motion, part of Plaintiffs’ requested relief seeks to move up the date by which the Court’s stay

shall be lifted as to “all settled state-law issues,” Mot. at 2, 19, which the Secretary interprets to

include Plaintiffs’ challenge to the Commonwealth’s requirement that poll watchers reside in the

county in which they will watch polls. This claim, which is based on nothing more than an

unsupported assertion that Plaintiffs will be unable to locate sufficient poll watchers, remains

premature, and Plaintiffs continue to lack standing to bring it. See, e.g., Summers v. Earth Island

Inst., 555 U.S. 488, 497-99 (2009) (rejecting “probabili[stic]” standing over dissent). Rather than

cure this pleading deficiency, Plaintiffs instead seek modification of this Court’s stay order without

justification, paradoxically attempting to accelerate the adjudication of their unripe poll-watcher

challenge. But the proper course should be to dismiss Plaintiffs’ unripe claims outright, not to

grant extraordinary preliminary relief to press this issue sooner.

          Plaintiffs’ claims are barred by the Eleventh Amendment. Plaintiffs’ claims are also

barred by the Eleventh Amendment, which prohibits this Court from providing injunctive or

declaratory relief based on “a claim that state officials violated state law in carrying out their

official responsibilities.” Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 121 (1984);

see Richard H. Fallon, Jr. et al., Hart and Wechsler’s the Federal Courts and the Federal System

935-37 (6th ed. 2015) (discussing Pennhurst’s holding). Thus, at the very outset, because

Counts III, V, VII, and VIX in the Amended Complaint are based purely on state law, they plainly

must be dismissed. See ECF No. 264 at 11.2



2
    Plaintiffs previously suggested their state-law claims could somehow survive because they assert


                                                  10
        Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 16 of 27




       But even for those claims to which Plaintiffs affix a federal constitutional label (Counts I,

II, IV, VI, and VIII), the Court should look past that misnomer and recognize that Plaintiffs’ entire

lawsuit is simply an attempt to force Commonwealth officials to abide by Plaintiffs’ own

interpretation of the Election Code, masquerading as a federal constitutional violation. This case

therefore continues to present the precise circumstance the Eleventh Amendment exists to guard

against: Commonwealth officials have been hauled into federal court against their will to litigate

(under the guise of a federal constitutional violation) whether they are complying with Plaintiffs’

preferred interpretation of the state law. See Pennhurst, 465 U.S. at 116-17. This is particularly

clear in light of the Secretary’s recently issued guidance designed to ensure equal treatment of

drop-boxes and “naked” ballots across the Commonwealth as well as the Pennsylvania Supreme

Court’s decision to exercise jurisdiction over the legal issues contained therein. Those material

developments further obviate Plaintiffs’ remaining theories of constitutional harm, confirming this

entire dispute is based on state law, not the federal constitution.

       Indeed, the absurdity of Plaintiffs’ position at this stage is underscored by the fact that the

Court could not order certain of the relief Plaintiffs seek without directing state officials to violate

the Election Code. Specifically, Plaintiffs ask this Court to order state officials to “segregate and

maintain intact all cast absentee and mail-in ballots that . . . lack an inner secrecy envelope or

contain marks, text, or symbols thereon,” and to “refrain from pre-canvassing or canvassing all

cast absentee and mail-in ballots that . . . lack an inner secrecy envelope or contain marks, text, or

symbols thereon . . . .” Mot. at 1, 18. But identifying which ballots “lack an inner secrecy


related federal law claims, advancing a sort of supplemental jurisdiction theory of jurisdiction. See
ECF No. 320 at 41-42. But that is not the law. Pennhurst could not have been clearer: “[N]either
pendent jurisdiction nor any other basis of jurisdiction may override the Eleventh Amendment. A
federal court must examine each claim in a case to see if the court’s jurisdiction over that claim is
barred by the Eleventh Amendment.” 465 U.S. at 121 (footnote omitted).



                                                  11
        Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 17 of 27




envelope” (i.e., which ballots are “naked”) requires opening the outer envelopes of those ballots,

which is not permitted until the Election Code-mandated pre-canvass begins no earlier than

7:00 a.m. on Election Day (here, November 3, 2020). See 25 Pa. Cons. Stat. §§ 2602(q.1),

3146.8(g)(1.1). To comply with such an order, election officials would be compelled to open the

outer envelopes to identify “naked” ballots, in clear violation of the Election Code.             This

extraordinary aspect of Plaintiffs’ request confirms they are urging this Court to improperly wade

into and re-write the statutory scheme that controls canvassing of mail-in ballots.

IV.    PLAINTIFFS ARE NOT ENTITLED TO A PRELIMINARY INJUNCTION.

       For all the reasons set forth above, the Court need not even approach the merits of

Plaintiffs’ motion—but even if it did, Plaintiffs have not met their burden of establishing they are

entitled to preliminary injunctive relief. In fact, Plaintiffs fail on each aspect of the test for such

relief: they are not likely to be successful on the merits of their claims, they will not suffer

irreparable harm absent an injunction, and the balance of the equities do not favor intrusive

injunctive relief issued by a federal court based on a tentative construction of state law. See, e.g.,

Am. Express Travel Related Servs., Inc. v. Sidamon-Eristoff, 669 F.3d 359, 366 (3d Cir. 2012).

       A.      Plaintiffs Are Not likely To Be Successful on the Merits.

       Plaintiffs do not remotely meet their burden of demonstrating a “reasonable probability”

that they will succeed on the merits of their claims. Mot. at 19. The Third Circuit has made clear

that this is no small hurdle, requiring movants to show a “significantly better than negligible”

chance of prevailing on the merits of its claims in order to obtain the “extraordinary remedy” of a

preliminary injunction. Holland v. Rosen, 895 F.3d 272, 285-86 (3d Cir. 2018) (emphasis added)

(citations omitted). Notwithstanding this substantial burden (which Plaintiffs alone bear), they

seemingly take it for granted, devoting a mere three paragraphs to explaining their so-called

likelihood of success. See Mot. ¶¶ 39-41. Plaintiffs do not even identify which claims (state or


                                                  12
        Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 18 of 27




federal) they believe they are likely to succeed on and under what theories, let alone why they

believe they are likely to succeed. But whether cast as federal constitutional or state Election Code

violations, Plaintiffs’ claims are uniformly likely to fail.

                        Plaintiffs Do Not Have a Reasonable Probability of Demonstrating
                        There Will Be Federal Constitutional Violations.

        Plaintiffs are unable to establish that they are likely to be successful on the merits of their

federal constitutional claims, whether based on a theory of vote dilution or alleged violations of

equal protection. With regard to alleged vote dilution, as pleaded in Plaintiffs’ motion, Plaintiffs’

claim of vote dilution depends entirely on their assertion that some “illegally cast” votes might be

counted, thereby diluting validly cast votes. A necessary premise of that argument, however, is

that “naked” ballots or ballots returned via drop-boxes are “illegally cast” under the Election Code,

which is highly doubtful (and again would require this Court to intrude on the Pennsylvania

Supreme Court’s authority to construe the Election Code), see infra Part IV.A.2. And, contrary to

Plaintiffs’ theory of constitutional harm, an incorrect implementation of the Election Code by state

officials is not a federal constitutional violation. Hennings v. Grafton, 523 F.2d 861, 864 (7th Cir.

1975) (“Mere violation of a state statute by an election official, for example,” will not “give rise

to a constitutional claim and an action under section 1983.” (citing Snowden v. Hughes, 321 U.S.

1, 11 (1944))). If it were, any litigant could force state election officials to litigate the meaning of

state election codes in federal court, at any time. That is not the law. Instead, recognizing the

limited role of federal courts in policing state election procedures, courts have recognized

“[i]nfringements of voting rights” only upon exceptional circumstances such as “dilution of votes

by reason of malapportioned voting districts or weighted voting systems; purposeful or systematic

discrimination against voters of a certain class, geographic area, or political affiliation; election

frauds; and other wilful conduct which undermines the organic processes by which candidates are



                                                  13
        Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 19 of 27




elected.” Id. (citations omitted). Nothing of the sort is at issue here, and the federal constitution

does not concern itself with such “garden variety” election code issues. Samuel v. V.I. Joint Bd.

of Elections, 2013 WL 842946, at *7 (D.V.I. Mar. 7, 2013) (collecting cases); see also Bennett v.

Yoshina, 140 F.3d 1218, 1226 (9th Cir. 1998) (“In general, garden variety election irregularities

do not violate the Due Process Clause, even if they control the outcome of the vote or election.”).

        Plaintiffs’ speculative equal protection theory fares no better. Here, Plaintiffs’ argument

boils down to a prediction (i) that counties will treat “naked” ballots differently, (2) that some

counties may not employ ballot drop-boxes while others will, and (3) that some counties will

accept in-person delivery of ballots by someone other than non-disabled voters, in contradiction

to the guidance provided by the Secretary and, eventually, the construction of the law to be

provided by the Pennsylvania Supreme Court. But an equal protection violation is not likely:

        First, with respect to “naked” ballots, Plaintiffs cite to practices employed by some

counties during the June 2020 primary election of counting such ballots, while others set those

ballots aside. See Am. Compl. ¶ 157-58; Mot. at 9-10. But as Plaintiffs themselves recognize, the

Secretary recently issued guidance to every county explaining how “naked” ballots should be

handled (they should uniformly be counted as valid votes). See Ex. 2. And the Pennsylvania

Supreme Court is soon expected to provide a binding interpretation. Plaintiffs only rejoinder is to

hypothesize that some counties will not follow the law uniformly and some votes may be unequally

treated across the Commonwealth. To the extent that Plaintiffs have standing to assert that purely

speculative theory (they do not, see supra Part III), the federal constitution does not turn every

mistaken instance of unequal treatment into an equal protection violation.              “The unlawful

administration by state officers of a state [election] statute fair on its face, resulting in its unequal

application to those who are entitled to be treated alike, is not a denial of equal protection unless




                                                   14
        Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 20 of 27




there is shown to be present in it an element of intentional or purposeful discrimination.” Snowden,

321 U.S. at 8. Absent willful misconduct and an election lacking “fundamental fairness,” see Bush

v. Gore, 531 U.S. 98, 109 (2000) (per curiam), there is no federal constitutional violation.

       The same goes for Plaintiffs’ specious predictions that some counties will accept ballots

delivered in-person by someone other than the voter or an authorized agent to the extent that

practice is permitted by the Code: the Secretary has already made clear that counties must not do

so. For instance, as part of the General Assembly-mandated report she issued on August 1, 2020

regarding the June 2020 Primary Election, the Secretary acknowledged the acceptance of certain

such ballots during the primary election, noting that although a single county (Lycoming)

“reported that it allowed approximately 20 ballots to be delivered by the voters’ spouses,” the

county had already “taken steps to ensure that its staff does not accept this type of delivery in the

future.” See Ex. 4 at 38-39. This is consistent with the Secretary’s August 19 guidance regarding

return of absentee and mail-in ballots, which makes clear in the opening sentence that “[u]nder

Pennsylvania law, in addition to using the mail, voters may return their own voted absentee or

mail-in ballot in-person.” Ex. 1 at 2 (emphasis added). Once again, Plaintiffs’ equal protection

theory is premised on a prediction that counties will ignore the law and treat ballots differently.

       The present situation stands in stark contrast to the challenge in Pierce, which was brought

just days before the election (an October 31 challenge to a November 4 election) and at a time

when it was clear that one county (Allegheny) was going to deploy ballot-counting procedures that

differed from another (Philadelphia). See 324 F. Supp. 2d at 688-89, 698. Here, Election Day

remains two months away and the Secretary’s recent guidance—to say nothing of the forthcoming

ruling expected from the Pennsylvania Supreme Court—alleviates the sort of concerns regarding

lack of uniformity apparent in Pierce (which did not concern an issue for which there was a




                                                 15
        Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 21 of 27




controlling Supreme Court decision). To that end, Plaintiffs’ reliance on practices deployed in

certain counties during the June primary is misplaced, as the primary obviously pre-dated the

recent formal Secretarial guidance and forthcoming Pennsylvania Supreme Court decision.

        Second, with respect to ballot drop-boxes, Plaintiffs’ motion raises a concern found

nowhere in their Amended Complaint. In the motion, Plaintiffs state that, “even if a state court

were to determine that drop-boxes were proper, the fact that not all counties employ them raises a

constitutional concern.” Mot. ¶ 41. But Plaintiffs offer no such allegation in the Amended

Complaint, instead limiting their allegations to the contention that use of drop-boxes is illegal—

full-stop—without any assertion that the use of drop-boxes by some counties (but not others)

violated equal protection or other rights. And even if Plaintiffs had alleged in their Amended

Complaint that the use of drop-boxes by some counties rose to the level of a federal constitutional

violation, such claim would fail. Pennsylvania has long vested discretion in county boards of

elections to tailor and establish election procedures for each jurisdiction (including the number and

location of polling places), see, e.g., 25 Pa. Cons. Stat. § 2726, and it is long-settled that such local

distinctions do not create federal constitutional concerns. Cf. PG Publ’g Co. v. Aichele, 705 F.3d

91, 114-16 (3d Cir. 2013). Plaintiffs have not explained why variation as to the use of drop-boxes

would constitute a federal constitutional violation, nor have they put forward any judicially

manageable standards governing what degree of similarity must exist across counties. Thus,

Plaintiffs are not likely to succeed on the merits of their equal treatment claims.

                        The Secretary’s Guidance is Consistent with the Election Code and
                        Does Not Violate Commonwealth Law.

        Plaintiffs also do not establish a reasonable probability of success on their allegations that

Defendants’ future actions will violate the Election Code. Even if the Court were to un-abstain

and issue a tentative construction of the Pennsylvania Election Code in the context of Plaintiffs’



                                                   16
        Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 22 of 27




motion for preliminary injunctive relief—and it should not, particularly in light of the

Pennsylvania Supreme Court’s recent order—the Secretary’s existing guidance is entirely

consistent with the Election Code on the issue of both “naked” ballots and drop-boxes. While the

Secretary does not exhaustively delve into these issues of state law statutory interpretation at this

stage, the Secretary’s guidance related to both “naked” ballots and drop-boxes is uniform and

statutorily sound, such that there is no need for this Court to change course even in the absence of

a decision of the Pennsylvania Supreme Court.

        “Naked” ballots are not void. The Secretary has issued guidance directing that naked

ballots uniformly be counted and not voided. While the Election Code states that absentee and

mail-in voters “shall” enclose their ballots in secrecy envelopes, see 25 Pa. Cons. Stat.

§§ 3146.6(a), 3150.16(a), the Code provides no authority to void naked ballots. The lack of

authority to void naked ballots stands in contrast to other provisions that explicitly direct when a

certain defect will render a ballot void. See, e.g., id. § 3063 (“What ballots shall be counted;

manner of counting; defective ballots”); see also id. § 3055(d) (directing that ballots that do not

comply with a certain numbering requirement “shall be void and shall not be counted”); id.

§ 3062(c) (directing that ballots that do not comply with the ban on stickers or labels “shall be void

and may not be counted”).3 Put simply, the General Assembly has not been shy in identifying

disqualifying ballot deficiencies, and the Election Code’s silence with respect to voiding “naked”



3
  Section 3063 of the Election Code is especially relevant because the following language was
added to it in Act 77: “In districts in which paper ballots or ballot cards are electronically tabulated,
stickers or labels may not be used to mark ballots. A vote cast by means of a sticker or label
affixed to a ballot or ballot card shall be void and may not be counted.” Id. (emphasis added). The
October 2019 General Assembly therefore specifically knew how to ensure that certain deficient
ballots are not counted. The very same lawmakers who enacted the mail-in voting laws chose to
include a directive to void ballots containing a sticker or label, but did not direct that naked
absentee or mail-in ballots “shall be void and may not be counted.”



                                                   17
        Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 23 of 27




mail-in ballots must thus be read against this pattern of legislative clarity. Coupling that pattern

with the well-settled presumption against disenfranchisement, see Shambach v. Bickhart, 845 A.2d

793, 798-99 (Pa. 2004) (collecting cases), it becomes clear that Plaintiffs’ claim that counting

naked ballots is “illegal” is not likely to carry the day in Commonwealth courts.

        The Election Code permits ballot drop-boxes. The use of ballot drop-boxes for the

return of absentee or mail-in ballots is entirely consistent with the Election Code, which requires

merely that such ballots be “deliver[ed]” “in person” to the county board of elections. 25 Pa. Cons.

Stat. §§ 3146.6(a), 3150.16(a) (requiring that absentee and mail-in ballot envelopes not sent

through the mail “shall . . . be securely sealed and the elector shall . . . deliver it in person to said

county board of election”). Crucially, a county board of elections is a body, not a place. Id. § 2641;

see also id. § 2602 (“The words ‘county board’ or ‘board’ shall mean the county board of elections

of any county herein provided for.”). Thus, ballots must be delivered to that body—wherever such

body authorizes it—not a specific place or office. In fact, the Election Code refrains from

demanding that ballots be returned to a specific office or address; whereas the Code uses the phrase

“received in the office of the county board” in several places, it does not use that phrasing when

referring to where the “deliver[y]” of absentee or mail-in ballots “in person” must occur, instead

referring only to “deliver[y]” to the “county board of election,” not the “office” of said board. Id.

§§ 3146.6(a), 3150.16(a).4 The Code also authorizes counties to establish additional board of

elections locations “as may be necessary.” See id. § 2645(b). The use of mail-in drop-boxes does

not conflict with the Election Code, as the Commonwealth courts will likely conclude.



4
  Again, the General Assembly knew how to specify that delivery must be to “the address” of the
office of the county board of elections, as contrasted with the county board of elections (i.e., the
body). Specifically, a military-overseas ballot is counted only if it is returned to “the address that
the appropriate county election board has specified.” Id. § 3511(a) (emphasis added).



                                                   18
        Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 24 of 27




       B.      Plaintiffs Will Not Suffer Irreparable Harm Absent the Requested Relief.

       Plaintiffs cannot carry their burden of establishing that they will suffer irreparable harm if

this Court fails to intervene at this time, particularly in light of the Pennsylvania Supreme Court’s

exercise of jurisdiction over the relevant state-law issues and invitation for expedited supplemental

briefing. ECF No. 418-3. Plaintiffs’ basis for requesting injunctive relief is that “the window for

action to protect Plaintiffs’ constitutional rights is closing fast” because “at least one county” has

“announced plans to install” ballot drop-boxes by October 1, and ballots may be comingled and

canvassed thereafter. Id. But the exhibit Plaintiffs cite (a 7-month old email chain) for their

supposed announcement that a single county (Delaware County) is going to introduce drop-boxes

by October 1 does not support that claim. See Mot. ¶ 22 (citing App. Ex. I (ECF No. 415-33)).

For example, Plaintiffs request an injunction prohibiting the pre-canvassing and canvassing of

certain ballots. See Mot. at 1, 18 (Req. (b)). But pursuant to the Election Code, pre-canvassing

cannot begin until the morning of November 3, 2020—more than two months away—making it

obvious that Plaintiffs will not suffer irreparable harm if that relief is not ordered prior to the

October 5 date set forth in the existing abstention order. See 25 Pa. Cons. Stat. §§ 2602(q.1),

3146.8(g)(1.1). And once again, it is likely the Pennsylvania Supreme Court will issue a decision

interpreting the relevant Election Code provisions before ballot collection and canvassing begin.

       But perhaps most glaring, Plaintiffs’ sudden claim of irreparable injury rings hollow in

light of Plaintiffs’ failure to pursue the state-court avenues this Court advised in its abstention

order, see Op. at 31-32. Plaintiffs did not initiate a state-court proceeding seeking definitive

interpretation of the relevant state Election Code provisions, nor did they take action to attempt to

expedite action in any of the existing state-court proceedings. To the contrary, Plaintiffs left in

place their filed opposition to the Secretary’s petition for extraordinary jurisdiction before the

Pennsylvania Supreme Court.        If Plaintiffs truly feared irreparable harm, they would have


                                                 19
        Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 25 of 27




advocated swift resolution in Commonwealth courts, not opposed it. Plaintiffs’ own foot-dragging

belies the need for urgency now.

       C.      It Is Not Inequitable to Deny Plaintiffs’ Requested Relief.

       Finally, the equities do not justify the intrusive relief Plaintiffs seek. As this Court

recognized, “Plaintiffs intentionally opted to forgo seeking any preliminary provisional relief” at

the outset of this case and before this Court opted to abstain. Op. at 33. Furthermore, when given

the opportunity (indeed, the direction) to pursue resolution of the relevant state-law questions in

state court, Plaintiffs sat on their hands, instead returning to federal court. The Pennsylvania

Supreme Court has now agreed to hear this case, and the public interest would be disserved by

allowing Plaintiffs’ blatant forum shopping and having this Court enter the fray at this stage. See

Holland, 895 F.3d at 285-86 (3d Cir. 2018). Finally, a grant of the relief at this juncture would

risk substantial voter confusion and uncertainty as to whether their votes will be counted (or

counted in a timely manner) as well as imposing unnecessary administrative burdens on county

boards of elections as they busily prepare for the upcoming General Election. The public interest

is best served by this Court staying the course and denying Plaintiffs’ requested relief.

                                         CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiffs’ motion and leave the Court’s

abstention order in place.




                                                 20
      Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 26 of 27




Dated: September 2, 2020                      Respectfully submitted,

                                              PENNSYLVANIA OFFICE OF
KIRKLAND & ELLIS LLP                          ATTORNEY GENERAL

By:   /s/ Daniel T. Donovan                   By:    /s/ Karen M. Romano
      Daniel T. Donovan                              Karen M. Romano
      Michael A. Glick                               Keli M. Neary
      Susan M. Davies                                Howard G. Hopkirk
      Kristen L. Bokhan                              Nicole Boland
      1301 Pennsylvania Avenue, N.W.                 Stephen Moniak
      Washington, DC 20004                           15th Floor, Strawberry Square
      (202) 389-5000 (telephone)                     Harrisburg, PA 17120
      (202) 389-5200 (facsimile)                     (717) 787-2717 (telephone)
      daniel.donovan@kirkland.com                    (717) 772-4526 (facsimile)
      michael.glick@kirkland.com                     kromano@attorneygeneral.gov
      susan.davies@kirkland.com                      kneary@attorneygeneral.gov
      kristen.l.bokhan@kirkland.com                  hhopkirk@attorneygeneral.gov
                                                     nboland@attorneygeneral.gov
      Madelyn A. Morris                              smoniak@attorneygeneral.gov
      Sara S. Tatum (pro hac vice pending)
      601 Lexington Avenue                    MYERS BRIER & KELLY LLP
      New York, NY 10022
      (212) 446-4800 (telephone)              By:    Daniel T. Brier
      (212) 446-4900 (facsimile)                     Daniel T. Brier
      madelyn.morris@kirkland.com                    Donna A. Walsh
      sara.tatum@kirkland.com                        425 Spruce Street, Suite 200
                                                     Scranton, PA 18503
                                                     (570) 342-6100 (telephone)
                                                     (570) 342-6147 (facsimile)
                                                     dbrier@mbklaw.com
                                                     dwalsh@mbklaw.com



                                              Counsel for Kathy Boockvar
                                              Secretary of the Commonwealth of
                                              Pennsylvania




                                             21
        Case 2:20-cv-00966-NR Document 424 Filed 09/02/20 Page 27 of 27




                                CERTIFICATE OF SERVICE

       I hereby certify that on September 2, 2020, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all parties who have appeared in this action via the Court’s

electronic filing system. Parties may access this filing through the Court’s system.



                                                /s/ Daniel T. Donovan
                                                Daniel T. Donovan

                                                Counsel for Kathy Boockvar
                                                Secretary of the Commonwealth of
                                                Pennsylvania
